USCA Case #23-7061        Document #2016035        Filed: 09/08/2023   Page 1 of 2



               NOT YET SCHEDULED FOR ORAL ARGUMENT

                                     No. 23-7061

                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

                            ANDREW HANSON, et al.,
                                APPELLANTS,
                                           V.

                         DISTRICT OF COLUMBIA, et al.,
                                  APPELLEES.

             ON APPEAL FROM AN ORDER OF THE
 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

                 NOTICE OF WITHDRAWAL OF COUNSEL


      Please take notice that Alexandra Lichtenstein is leaving the Office of the

Attorney General for the District of Columbia and will no longer be representing

appellees the District of Columbia and Metropolitan Police Department Chief

Pamela A. Smith (together “the District”). Solicitor General Caroline S. Van Zile,

Principal Deputy Solicitor General Ashwin P. Phatak, Deputy Solicitor General

Thais-Lyn Trayer, and Assistant Attorney General Sonya L. Lebsack will continue

to serve as counsel of record for the District.
USCA Case #23-7061   Document #2016035        Filed: 09/08/2023     Page 2 of 2



                               Respectfully submitted,

                               BRIAN L. SCHWALB
                               Attorney General for the District of Columbia

                               CAROLINE S. VAN ZILE
                               Solicitor General

                               ASHWIN P. PHATAK
                               Principal Deputy Solicitor General

                               THAIS-LYN TRAYER
                               Deputy Solicitor General

                               SONYA L. LEBSACK
                               Assistant Attorney General
                               Office of the Solicitor General

                               /s/ Alexandra Lichtenstein
                               ALEXANDRA LICHTENSTEIN
                               Assistant Attorney General
                               Bar Number 1724947
                               Office of the Solicitor General

                               Office of the Attorney General
                               400 6th Street, NW, Suite 8100
                               Washington, D.C. 20001
                               (202) 746-8672
                               (202) 727-3804 (fax)
September 2023                 alexandra.lichtenstein@dc.gov




                                   2
